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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA
Criminal Action No. 19-374 (MAS)

v.
MEMORANDUM ORDER

ANDREW TABLACK

 

 

This matter comes before the Court on pro se Defendant Andrew Tablack’s (“Defendant”)
Renewed Motion for Judgment of Acquittal. (ECF No. 173.) The Government did not oppose. The
Court has carefully considered Defendant’s submission and decides the matter without oral
argument under Local Civil Rule 78.1, which is applicable to criminal cases under Local Criminal
Rule 1.1.

L BACKGROUND

In July 2021, Defendant was tried for two drug-related offenses involving cyclopropyl
fentanyl, a controlled substance analogue. See United States v. Tablack, No. 19-374, 2021 WL
3925689 (D.N.J. July 20, 2021). After the Government rested, Defendant moved for judgment of
acquittal. /d. at * 2. The Court reserved judgment on the motion and submitted the case to the jury.
Id. The jury then returned a guilty verdict on both counts. Jd.

Shortly thereafter, the Court issued a written decision denying Defendant’s motion. In
reaching its decision, the Court noted that Defendant’s motion recycled two arguments already
considered and rejected by the Court: (1) that the indictment was deficient, and (2) that cyclopropyl
fentanyl was not a scheduled controlled substance during the relevant period. See id. at *3-4,

As to Defendant’s first argument, the Court reiterated that the indictment was sufficient

because it adequately tracked the language of the charged—and constitutionally upheld—statutes.
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Id. at *3. As to Defendant’s second argument, the Court again explained that the fact that
cyclopropyl fentanyl was not a scheduled controlled substance during the relevant period is
irrelevant because the charged offenses involved a controlled substance analogue. Jd. at *4. What
mattered, therefore, was whether cyclopropyl! fentanyl is “substantially similar” to a schedule I or
II controlled substance—not whether cyclopropyl fentanyl itself was a scheduled controlled
substance at the time. Jd. And, to the extent that Defendant contested the sufficiency of the
Government’s evidence at trial, the Court rejected that argument. /d. at *5—6,. The Court noted that
the Government presented, among other things: testimony from Defendant’s co-conspirator who
provided a detailed account of Defendant’s drug operation; evidence of Defendant’s drug
transactions on the dark web; a recorded conversation between Defendant and his ex-girlfriend in
which Defendant discussed and acknowledged the illegality of his conduct; and testimony from
DEA personnel who, based on their analysis, concluded that cyclopropyl fentanyl] is substantially
similar to fentanyl, a scheduled I controlled substance. Id.

Thus, the Court found that Defendant failed to meet his heavy burden of showing that the
Government presented insufficient evidence to sustain a conviction and, accordingly, denied
Defendant’s motion for judgment of acquittal. Jd. at *6. Defendant now renews that motion.

I. LEGAL STANDARD

“[A] defendant who asserts that there was insufficient evidence to sustain a conviction
shoulders ‘a very heavy burden.’” United States v. Tiangco, 225 F. Supp. 3d 274, 278-79 (D.N.J.
2016) (quoting United States v. Anderson, 108 F.3d 478, 481 (3d Cir. 1997)). “The court cannot
substitute its judgment for that of the jury. Hence it must view the evidence, and all reasonable
inferences therefrom, in the light most favorable to the prosecution, resolving all credibility issues
in the prosecution’s favor.” Jd. (citing United States v. Hart, 273 F.3d 363, 371 (3d Cir. 2001);

United States v. Scanzello, 832 F.2d 18, 21 (3d Cir. 1987)). “Having done so, the court must uphold
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the conviction if ‘any rational trier of fact could have found the essential elements of the crime
beyond a reasonable doubt.’” Jd. (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)).

Til. DISCUSSION

In moving for judgment of acquittal, Defendant does not contest the sufficiency of the
Government’s evidence. Instead, Defendant rehashes his challenges about the sufficiency of the
indictment and insists that he did not engage in unlawful conduct because cyclopropyl fentanyl
was not a scheduled controlled substance during the relevant period. (Def.’s Moving Br. 2-12,
ECF No 173.) But the Court has already considered and rejected those arguments more than once.
See Tablack, 2021 WL 3925689, at *3-6; United States v. Tablack, No. 19-374, 2020 WL
5500382, at *2-4 (D.N.J. Sept. 11, 2020). Having already addressed Defendant’s arguments at
length, the Court need not do so again.

As noted, Defendant did not address—-much less contest—the sufficiency of the
Government’s evidence and instead recycles flawed arguments already rejected by the Court.
Defendant, therefore, cannot claim that this is a clear case where a finding of insufficiency is
warranted. See United States v. Smith, 294 F.3d 473, 477 (3d Cir. 2002) (“[A] finding of
insufficiency should ‘be confined to cases where the prosecution’s failure is clear.’” (quoting
United States v. Leon, 739 F.2d 885, 891 (3d Cir. 1984))). On these facts, the Court again finds
that Defendant fails to meet his heavy burden of showing that the Government presented
insufficient evidence to sustain a conviction.

IV. ORDER

Accordingly, for the reasons set forth above and in the Court’s September 12, 2020 and

July 20, 2021 opinions and orders, and for other good cause shown,
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IT IS, on this 6th day of October 2021, ORDERED as follows:

1. Defendant’s Motion (ECF No. 173) is DENIED.

MICHAEL A. SHipp &
UNITED STATES DISTRICT JUDGE
